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                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA



E. N. BISSO & SON, INC.                              * CIVIL ACTION

VERSUS                                               * NO. 19-cv-14666

M/V DONNA J. BOUCHARD, her tackle,                   * SECTION “E” (1)
Furniture, apparel, appurtenances, etc. in
rem, and the Barge B. NO. 272, her tackle,           * JUDGE MORGAN
Furniture, apparel, appurtenances, etc. in
rem and BOUCHARD TRANSPORTATION                      * MAGISTRATE VAN MEERVELD
CO., INC. in personam

*      *       *       *      *       *      *       *

                              MOTION TO QUASH SUBPOENA

       NOW INTO COURT, through undersigned counsel, come Defendants, Bouchard

Transportation Co., Inc., Tug DONNA J. BOUCHARD Corp., as owner of the M/V DONNA J.

BOUCHARD, in rem, making a restricted appearance pursuant to Rule E(8) of the Federal Rules

of Civil Procedure, and B. No. 272 Corp., as owner of the Barge B. No. 272, in rem, making a

restricted appearance pursuant to Rule E(8) of the Federal Rules of Civil Procedure, and moves

this Honorable Court for an order quashing the subpoena plaintiff-in-intervention, Boland

Marine & Industrial, LLC (“Boland”), recently served on Wells Fargo Bank (“Wells Fargo”),

commanding Wells Fargo to disclose certain confidential and financial information regarding

Defendants and other non-party entities. Boland’s subpoena amounts to nothing more than the

classic “fishing expedition” hoping to find evidence to support an alter ego claim that Boland is

clearly unable to support.

       For these and the reasons more fully explained in the attached memorandum in support,


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the Court should grant Defendants’ motion to quash and quash Boland’s subpoena issued to

Wells Fargo.



                                              Respectfully submitted,

                                              MURPHY, ROGERS, SLOSS,
                                               GAMBEL & TOMPKINS

                                              /s/ Robert H. Murphy
                                              ____________________________________
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                                              Attorneys for Bouchard Transportation Co., Inc.,
                                              Tug DONNA J. BOUCHARD Corp. as owner of the
                                              M/V DONNA J. BOUCHARD, in rem, making a
                                              restricted appearance pursuant to Rule E(8) of the
                                              Federal Rules of Civil Procedure, and B. No. 272
                                              Corp., as owner of the Barge B. No. 272, in rem,
                                              making a restricted appearance pursuant to Rule
                                              E(8) of the Federal Rules of Civil Procedure
4824-9723-6159, v. 1




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